Case 3:20-cr-00249-RS Document 670-2 Filed 06/06/25 Page1of2

Message

From: Marcus Monex (a)
Sent: 11/6/2014 6:04:15 AM

To: PR Team [pr@ereleases.org]

Attachments: BGC Information Memo.pdf; IMG_0279.PNG; BGC Image.png; logo.png; banner_5.JPG; SSV1 Johnson 1-BGC. jpeg

Different PR's that need to go out.

1) NAC's investment in Tahoe Oil & Gas Update, the Johnson 1 Oil Well has missed. Charles Richard Gray
is no longer associated with NAC and the Founder of NAC, Marcus Andrade wishes him well in his future
ventures.

We are pleased to announce that the Taylor 1 Oi! & Gas Well has hit and according to Tahoe Oil & Gas, we
are expecting to get about 200 to 300 barrels of Oil per day. (I SHOULD KNOW EXACTLY HOW MUCH OIL
IT WILL BE PER DAY BY MONDAY OF NEXT WEEK.)

2) NAC has transferred all of it's interest in the Tahoe Oil & Gas Projects over to BGC International, Inc.,
an Aten "Black Gold" Coin promotions company. BGC International, Inc will be responsible for creating an
Aten Coin Market emphasizing on Oil & Gas.

BGC International, Inc is proud to announce a new Oil & Gas investment with Energy Funders. Philip
Racusin, the CEO of Energy Funders says that he feels confident in Aten Coin and that compared to
Bitcoin, he predicts that Aten Coin will surpass Bitcoin because of the unique features that Aten Coin has.
It is the first digital currency that is 100 % Anti Money Laundering Compliant. ..........

EnerayFunders

EnergyFunders
Mare Duncan Ol & Gas Exploration and Development Advisor

3) ANXPRO, a major bitcoin exchange is proud to announce that he will be soon listing Aten Coin on his
bitcoin exchange. He feels that the Aten "Black Gold" Coin has a lot of potential and is surprised on how
fast the Aten Coin Market has grown.

https://anxpro.com/

4) BGC International is proud to announce that it has purchased ownership in a Poland based Bitcoin
Payment Processing Company, Inpay.pl. The CEO of the Polish based company InPay, Mr. Lech Wilczynzk
says that he is really impressed with the Aten Coin features and is in the process of creating an Aten Coin
Payment System so that enable entrepreneurs and businesses can accept Aten Coins along with Bitcoins.

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA
Start - InPa TRIAL EXHIBIT 1087

CASE NO.: CR 20-249 RS

DATE ENTERED
CE 3 ee oY

DEPUTY CLERK

CONFIDENTIAL ANDRADE_DOJ00000_00057001
ANDRADE_DOJ_00057001

EX1087-001
Case 3:20-cr-00249-RS Document 670-2 Filed 06/06/25 Page 2of2

5) Glenn Oil & Gas is a support of Aten Coin and has agreed to payout there Limited Partners in Aten Coin
Aten Coin has helped his 9 Oil & Gas Well Project come to life and in the future they will all be up and

running.
Our Team

Our Team

ANDRADE_DOJ00000_00057002

CONFIDENTIAL

ANDRADE_DOJ_00057002

EX1087-002
